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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                  Chapter 15
In re:
                                                  Case No. 18-11094 (SCC)
PERFORADORA ORO NEGRO, S. DE R.L.                 (Jointly Administered)
DE C.V., et al,

Debtors in a Foreign Proceeding.

                                                  Adv. Pro. No. 19-01294
GONZALO GIL-WHITE, PERSONALLY
AND IN HIS CAPACITY AS FOREIGN
REPRESENTATIVE OF PERFORADORA
ORO NEGRO, S. DE R.L. DE C.V. AND
INTEGRADORA DE SERVICIOS
PETROLEROS ORO NEGRO, S.A.P.I. DE
C.V

                          Plaintiff,

                  -against-

ALP ERCIL; ALTERNA CAPITAL
PARTNERS, LLC; AMA CAPITAL
PARTNERS, LLC; ANDRES CONSTANTIN
ANTONIUS-GONZÁLEZ; ASIA RESEARCH
AND CAPITAL MANAGEMENT LTD.; CQS
(UK) LLP; FINTECH ADVISORY, INC.;
DEUTSCHE BANK MÉXICO, S.A.,
INSTITUCIÓN DE BANCA MÚLTIPLE;
GARCÍA GONZÁLEZ Y BARRADAS
ABOGADOS, S.C.; GHL INVESTMENTS
(EUROPE) LTD.; JOHN FREDRIKSEN;
KRISTAN BODDEN; MARITIME FINANCE
COMPANY LTD.; NOEL BLAIR HUNTER
COCHRANE, JR; ORO NEGRO PRIMUS
PTE., LTD.; ORO NEGRO LAURUS PTE.,
LTD.; ORO NEGRO FORTIUS PTE., LTD.;
ORO NEGRO DECUS PTE., LTD.; ORO
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NEGRO IMPETUS PTE., LTD.; PAUL
MATISON LEAND, JR.; ROGER ALAN
BARTLETT; ROGER ARNOLD HANCOCK;
SEADRILL LIMITED; SHIP FINANCE
INTERNATIONAL LTD.; and DOES 1-100,

                           Defendants.



       NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

               PLEASE TAKE NOTICE that George A. Zimmerman, a member of the law

firm of Skadden, Arps, Slate, Meagher & Flom LLP and of the Bar of this Court hereby enters

his appearance in the above-captioned case (the “Adversary Proceeding”) as counsel for John

Fredriksen, and requests, pursuant to Rules 2002, 9007, and 9010(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and section 1109(b) of title 11 of the United

States Code (the “Bankruptcy Code”), that copies of all notices, documents, papers and pleadings

in the Adversary Proceeding be given and served upon:

               George A. Zimmerman
               SKADDEN, ARPS, SLATE,
                  MEAGHER & FLOM LLP
               Four Times Square
               New York, New York 10036
               Phone:(212) 735-3000
               Fax: (212) 735-2000
               Email: george.zimmerman@skadden.com

               PLEASE TAKE FURTHER NOTICE that pursuant to Bankruptcy Code

section 1109(b), the foregoing request includes not only the notices and papers referred to in the

Bankruptcy Rules specified above, but also includes, without limitation, any notice, application,

motion, petition, pleading, request, complaint or demand, whether formal or informal, whether

written or oral, and whether transmitted or conveyed by mail, delivery, telephone, telegraph,


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telex, facsimile transmission, e-mail or otherwise filed or made with respect to the Adversary

Proceeding.

               PLEASE TAKE FURTHER NOTICE that neither this request for notice and

service nor any later appearance, pleading, claim, or suit is a waiver of any substantive or

procedural right. Nor shall this request be deemed to constitute consent to electronic service of

any pleading or papers for which mailed or personal service is required under the applicable

Bankruptcy Rules or Federal Rules of Civil Procedure.

Dated: September 17, 2019
       New York, New York                       /s/ George A. Zimmerman
                                                George A. Zimmerman
                                                SKADDEN, ARPS, SLATE,
                                                    MEAGHER & FLOM LLP
                                                Four Times Square
                                                New York, New York 10036
                                                Phone:(212) 735-3000
                                                Fax: (212) 735-2000
                                                Email: george.zimmerman@skadden.com

                                                Attorneys for Defendant John Fredriksen




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